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Exhibit G
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More about TD Jakes’ gay accusations plus paedophilia activities lands online      Filed 01/23/25   Page 2 of 5   1/17/25, 2:04 AM




                GhPage  News

                 NEWS



                More about TD Jakes’ gay accusations plus paedophilia
                activities lands online
                By Armani Brooklyn  December 22, 2023




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                The Black Twitter community is going crazy after a TikToker shared some rumours about American pastor T.D. Jake
                sexual encounters with multiple men at rapper Sean “Diddy” Combs gatherings.


                If that’s not shocking enough, the rumours also went into detail about Jakes’s sexual preferences, being called a “p




                Since the internet loves a juicy scandal, we’ll explain how America’s favourite pastor became a trending topic on so


                What Is The ‘Pastor T.D. Jakes Power Bottom’ Rumor?


                Pastor T.D. Jakes was caught in the middle of a storm involving his longtime friend rapper Sean “Diddy” Combs, af
                posted by user @jusnene on December 20th alleged R&B singer and Combs’ ex-wife Cassie handed over evidence
                that implicate the pastor’s personal life.


                READ ALSO: Is Pastor TD Jakes a secret power bottom to Diddy?; Details below




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                Jusnene’s TikTok alleges Cassie handed over tapes, Diddy’s late wife Kim Porter’s burner phone to the FBI and also
                revealing the pastor’s supposed sexual encounters with multiple men at Combs’ gatherings.


                If that’s not shocking enough, the rumours also went into detail about Jakes’s sexual preferences, being called a “p
                Since the internet loves a juicy scandal, we’ll explain how America’s favourite pastor became a trending topic on so




                What’s A Power Bottom?


                A power bottom is described by Urban Dictionary[2] as gay terminology, “similar to a bottom, but a specific variety


                A power bottom tends to be in charge, and feels most powerful when bottoming.” A Men’s Health article also expla
                bottom” is the person “controlling the tempo of sex along with the depth of penetration.”


                How Did People React To The ‘Pastor T.D. Jakes Power Bottom’ Rumor?


                The rumor quickly spread across multiple social media platforms, igniting a series of debates, reactions to the une
                and the resurfacing of a previous accusation against Jakes, suggesting he is a closeted homosexual.



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                This claim appeared in a report on December 21st, 2023 by X user @vsejanea, which used a YouTube video initiall
                self-proclaimed “prophet” on “The Master Voice Prophecy Blog.” The post (shown below) amassed over 1.5 million
                retweets in just a few hours.


                READ ALSO: This is why Pastor TD Jakes and Diddy is trending on social media




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